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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


RE:   Reassignment of Cases to the Docket of
      District Judge Jeffery P. Hopkins


                                          ORDER


      The attached cases are hereby reassigned to the docket of the Honorable Jeffery P.

Hopkins.

      IT IS SO ORDERED.


 December 21, 2022                 ______________________________________
DATE                               Honorable Algenon L. Marbley
                                   Chief Judge United States District Court
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       Case Number                                       Case Title
1:15-cv-00506-MWM        Kondash v. Kia Motors America, Inc. et al
1:16-cv-01059-MWM        Ramsey v. Receivables Performance Management, LLC
                         Siefert et al v. Hamilton County/ Hamilton County Board of
1:17-cv-00511-MWM-SKB    Commissioners/ Hamilton County Department of Job and Family
                         Services et al
1:17-cv-00860-MWM-SKB    Bauer et al v. GE Aviation Systems LLC et al
1:18-cv-00091-MWM-KLL    Durham v. Niffenegger et al
1:18-cv-00144-MWM        Myers v. Wells Fargo Bank, N.A.
1:18-cv-00271-MWM-SKB    Jones v. Conagra Foods Inc et al
1:18-cv-00326-MWM        McGinnes et al v. FirstGroup America, Inc. et al
1:19-cv-00201-MWM        The Bidwell Family Corporation et al v. Shape Corp. et al
1:19-cv-00304-MWM-KLL    Fontain v. Lane et al
1:19-cv-00481-MWM        Trustaff Travel Nurses, LLC v. Trusted, Inc.
1:19-cv-00594-MWM-SKB    Sturgill v. Muterspaw et al
1:19-cv-00613-MWM        Forman et al v. TriHealth, Inc.
1:19-cv-00692-MWM        Collins v. Central Railroad of Indiana et al
1:19-cv-00758-MWM        Cronin v. Kaivac, Inc. et al
1:19-cv-00828-MWM        Rees v. Newcomer Funeral Service Group, Inc.
1:19-cv-00852-MWM-KLL    Pannek et al v. U.S. Bank National Association
1:19-cv-00889-MWM-KLL    Clendenin v. United States Of America
1:19-cv-00999-MWM        Kaylor v. Multi-Color Corporation
1:19-cv-01062-MWM        Hawkins et al v. Cintas Corporation et al
1:20-cv-00092-MWM        Scalia v. Complete Care Supported Living Agency et al
1:20-cv-00118-MWM        McCleese v. Natorp's Inc. et al
1:20-cv-00157-MWM-KLL    Johnson v. Lawless
1:20-cv-00294-MWM        Gipson v. Cincinnati Children’s Hospital Medical Center
1:20-cv-00428-MWM        PCA-Corrections, LLC v. Akron Healthcare LLC et al
1:20-cv-00680-MWM-SKB    Hicks v. Faris et al
                         Luxottica of America Inc. v. Allianz Global Risks US Insurance
1:20-cv-00698-MWM
                         Company
1:20-cv-00825-MWM-KLL    Holmes v. United States of America et al
1:20-cv-00963-MWM        Jones v. Sun Chemical Corporation
1:20-cv-00972-MWM        Mamedova et al v. USCIS et al
1:21-cv-00003-MWM-SKB    Johnson v. Osborne et al
1:21-cv-00031-MWM-KLL    Henry v. Secretary, Department of Treasury
1:21-cv-00066-MWM        The Estate of Plott v. Department of Health and Human Services et al
1:21-cv-00141-MWM-KLL    Johnson v. Barney et al
1:21-cv-00155-MWM-SKB    Johnson v. Hill et al
1:21-cv-00171-MWM-KLL    Johnson v. Little et al
                         Options Unlimited Research Corp v. Western & Southern Financial
1:21-cv-00192-MWM
                         Group, Inc.
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                         Annis et al v. Plumbers, Pipe Fitters & Mechanical Equipment Service
1:21-cv-00325-MWM
                         Local Union No. 392 Health and Welfare Fund et al
1:21-cv-00423-MWM-KLL    Williams v. Warden, London Correctional Institution
1:21-cv-00462-MWM-SKB    Seifu v. Post Master General, U.S. Postal Service
                         The William Powell Company v. The Ocean Marine Insurance
1:21-cv-00522-MWM
                         Company Limited et al
1:21-cv-00532-MWM-SKB    Edge v. Erdos et al
1:21-cv-00533-MWM        Breitenstein v. Deters et al
1:21-cv-00562-MWM        Penny v. Cottingham Retirement Community Inc et al
1:21-cv-00578-MWM        Barnes v. Secretary of Veterans Affairs
1:21-cv-00583-MWM-SKB    Keith v. Dodson Global Inc.
1:21-cv-00588-MWM        Alexsam, Inc. v. US Bank NA
1:21-cv-00793-MWM-SKB    Cotton v. Fedex Ground Package System, Inc.
1:22-cv-00007-MWM        West v. Unlimited Potential Pizza, Inc. et al

1:22-cv-00031-MWM-CHG Johnson v. Cool et al

1:22-cv-00032-MWM        Singer-Reed v. Planes Moving and Storage, Inc. et al
1:22-cv-00044-MWM        Doe v. Board of Education of Fairland Local School District et al
1:22-cv-00062-MWM        3371 Reading, LLC v. Liberty Mutual Group, Inc. et al
1:22-cv-00067-MWM        Neack v. UC Health, LLC et al
1:22-cv-00083-MWM        OTR A.D.O.P.T., Inc. v. City Of Cincinnati et al
1:22-cv-00088-MWM        Clark et al v. Specialized Loan Servicing, LLC et al
1:22-cv-00105-MWM-SKB    Fontain v. O'Connell et al
1:22-cv-00211-MWM        Chang v. Silvani et al
1:22-cv-00252-MWM-KLL    Mathieu v. City of Cincinnati Police Impound
1:22-cv-00312-MWM        Shah v. Fortive Corporation et al
1:22-cv-00317-MWM-KLL    Nouri v. State of Ohio et al
1:22-cv-00335-MWM        McKeon v. Day's Miami Heights Pharmacy et al
1:22-cv-00355-MWM        Amicus Miami of Ohio, LLC v. Kacachos et al
1:22-cv-00376-MWM        Roe et al v. University Of Cincinnati
1:22-cv-00431-MWM-KLL    Fontain v. Nestor et al
1:22-cv-00439-MWM        Rowland v. Jake Sweeney Automotive, Inc. et al
1:22-cv-00443-MWM-KLL    Nuritdinov v. Meda-Care Transportation Inc.
1:22-cv-00458-MWM-KLL    Tsibouris v. Colerain Township et al
1:22-cv-00482-MWM        Thomas et al v. Doe et al
1:22-cv-00537-MWM-SKB    Harney v. Warden, Ohio Reformatory for Women
1:22-cv-00543-MWM-KLL    Stansberry v. Raising Caines
1:22-cv-00610-MWM-KLL    Epps v. United States of America et al
1:22-cv-00628-MWM        Corbett et al v. MLINK Technologies, Inc. et al
1:22-cv-00651-MWM-SKB    Sealy v. Barrett et al
1:22-cv-00669-MWM        Holbrook v. Financial Asset Management Systems, Inc.
